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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                      Southern District of Ohio          [3
                  United States of America                          )
                             v.                                     )
                                                                    )        Case No.   2:22-mj-31
                    Donald A. ADAMS                                 )
                326 W. Main Street, Apt. A                          )
                Mount Sterling, OH 43143
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              01/01/21 through 10/31/21           in the county of             Madison            in the
     Southern         District of              Ohio            , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. 2252(a)(2)                           Distribution and Receipt of visual depictions of minor engaged in sexually
                                               explicit conduct

                                               Production of visual depictions of minors engaged in sexually explicit conduct
18 U.S.C. 2251(a)
                                               Advertising for visual depictions of minors engaged in sexually explicit conduct
18 U.S.C. 2251(d)(1)(A)



         This criminal complaint is based on these facts:

See attached affidavit incorporated herein by reference




         g/ Continued on the attached sheet.
                                                                        \




                                                                                               TFO Brett Peachey
                                                                                               Printed name and title

Sworn to before me and signed in my presence.

          January 20, 2022
Date:


City and state:                          Columbus, OH
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF omo
                                 EASTERN DIVISION


In the Matter of the Criminal Complaint:

Donald A. ADAMS
326 W. Main Street, Apt. A
Mount Sterling, OH 43143


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Brett M. Peachey, a Task Force Officer with the Federal Bureau of Investigation ("FBI"),
Columbus Resident Agency, being first duly sworn, hereby depose and state as follows:

I, TFO Brett Peachey (your affiant), make this affidavit in support of a criminal complaint to
arrest for the Receipt and Distribution of Child Pornography in violation of 18 U.S.C. §§
2252(a)(2), the Production of Child Pornography in violation of 18 U.S.C. §§ 2251(a) and the
Advertising for Child Pornography in violation of 18 U.S.C. §§ 2251(d)(l)(A). Since this
affidavit is being submitted for the limited purpose of securing a criminal complaint and arrest
warrant, your affiant did not include each and every fact known concerning this investigation.
Your affiant did not withhold any information or evidence that would negate probable cause.
Your affiant set forth only the facts that are believed to be necessary to establish probable cause
that Donald A. ADAMS committed the violations listed above.

Your affiant has been employed as a police officer for the Westerville Police Department since
December of 1995. Since March of 2008, your affiant has been assigned to the Child
Exploitation and Human Trafficking Task Force of the Federal Bureau oflnvestigation,
Cincinnati Division, Columbus Resident Agency, conducting online child enticement and child
pornography investigations. Your affiant is also a member of the Franklin County Internet
Crimes Against Children Task Force in Columbus, Ohio investigating similar crimes. Your
affiant has gained experience through a Bachelor of Arts Degree in Criminology and has
received specialized training in the area of internet crimes involving child exploitation, child
pornography investigations and computer forensics. Your affiant has been involved in hundreds
of investigations involving internet crimes against children, resulting in dozens of felony arrests

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and convictions. As a Task Force Officer with the FBI, your affiant is authorized to investigate
violations of the laws of the United States under the authority of the United States.

On September 20, 2021, an investigator with the FBI in Minneapolis, MN, hereinafter referred to
as OCE-10221, was engaged in an undercover operation attempting to identify subjects involved
in the sexual exploitation of children. OCE-10221 received an invitation to a TamTam chat
group titled "COOL PLACE" and, shortly after OCE-10221 joined the group, a subject with the
user name "Dee Bugged" also joined the group. TamTam is described as a free messenger app
where users can create private or public chatrooms as well as the ability to share and store files.
Users can also make video calls using the apps with several users at one time. Several members
proceeded to post links and files which depicted minor females engaged in sexual activity as well
as masturbation. In response to one of these files, Dee Bugged responded "That 1 girl giving
head in the last vids sent her was amazing. Just needed to go deeper. She didn't even gag."

On October 15, 2021, OCE-10221 joined a Mega.nz chat room titled "Cp And Mega Link
Share." One user utilizing the display name "Linda hot" wrote "drop some pedo or girl live
thanks." A subject utilizing the Mega ID deebugged1984@gmail.com and display name "Dee
Bugged" responded "ikr no ones dropping nun sadly." Dee Bugged then posted a video file
titled "3153565717876.mp4.'' The file is a video approximately eleven seconds long and depicts
two prepubescent females, approximately five to seven years of age, engaged in oral sex with an
adult male. Dee Bugged then posted a video file titled "MOV_202110212_200634.mp4" which
was approximately twenty one seconds long and depicted an adult male's penis ejaculating into
the mouth of a female approximately three to five years of age. Immediately prior to posting this
video, Dee Bugged wrote "We should make another group. This group kinda dead or find other
groups."


On October 19, 2021, results were received regarding an administrative subpoena served on
Google, LLC for information associated with the account used to register Mega ID
deebuggedl 984@gmail.com." The results were as followed:
Name:                  Dee Bugged
Created on:            2018-02-09
Last Logins:           2021-10-13 05:15:56 UTC

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Recovery SMS:            380-222-4622
Recent IPs:              2603:601 l:2fil3:e300:9a:c64a:b9de:53fa 10-13-21 05:15:56 UTC
                         2600:1009:b0d3:885b:b6b9:c62e:9c2d:8fe4 10-12-21 21:33:34 UTC
Billing Information:     Donald Adams, Mount Sterling, OH 43143
                         Carol Adams, Mowit Sterling, OH 43143


IP address 2600:1009:b0d3:885b:b6b9:c62e:9c2d is resolved to Verizon. A subpoena was
served on Verizon requesting subscriber information for the above IP address on October 12,
2021 at 21 :33 :34 UTC and Verizon responded with the following information:


Subscriber:    Donald Adams
Address:       PO Box 81 Mowit Sterling, OH 43143
Telephone:     380-222-4622
Device:        LG Velvet SG AG


IP address 2603:6011 :2fil3:e300:9a:c64a:b9de:53fa is resolved to Charter Communications. A
subpoena was served on Charter Communications requesting subscriber information for the
above IP address on October 13, 2021 at 05:15:57 UTC and Charter responded with the
following information:


Subscriber:    Carol Adams
Address:       326 W. Main Street, Apt. A
               Mowit Sterling, OH 43143
Username:      deebuggedl 984@gmail.com
Phone:         7408314010


During this investigation it was learned that a Cybertip Report (98001725) had been made by the
mother of a thirteen-year-old female through the National Center for Missing and Exploited
Children. According to the report, in August of 2021, messages were discovered on a cell phone
belonging to the complainant's thirteen-year-old daughter, hereinafter referred to as Georgia
Doe, and a subject known as Donald, through Snapchat and Facebook. Donald was later


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identified as Donald ADAMS. These messages indicated that Georgia Doe and ADAMS were
involved in a romantic online relationship and that Georgia Doe had sent nude photographs of
herself to ADAMS. The report revealed that ADAMS had communicated with Georgia Doe
using the Snapchat user ID of"dbugged8" as well as a Facebook account under the name of
Carol Adams which is ADAMS' mother. During their conversation ADAMS had also provided
his cell phone number of380-222-4622 to Georgia Doe to communicate. After their online
relationship and conversations were discovered by Georgia Doe's mother, it's believed that
Georgia Doe warned ADAMS and he began deleting evidence of their conversations from his
phone.


Contact was made with the Liberty County (GA) Sheriff's Office where Georgia Doe resides and
a copy of the initial police report as well as Georgia Doe's LG cellular phone was forwarded to
your affiant with a signed consent to search form from Georgia Doe's mother. A forensic
examination of the LG phone revealed several text messages in July of2021 between Georgia
Doe and cell phone number 380-222-4622 which was listed as "My Love" in the phone's
contacts. Sexually explicit Snapchat conversations were also recovered between Georgia Doe
and several other men. In these conversations, Georgia Doe refers to "Donnie" multiple times in
the conversations with these men. Georgia Doe sends several nude photographs during these
conversations and makes reference to masturbating as if the men are watching. In addition, there
are sexually explicit conversations where Georgia Doe appears to be communicating with a
subject that she refers to as "daddy" and that they are both masturbating at that time. However,
the messages from the subject that she is communicating with are no longer present on the
Snapchat app. It's believed that this subject is ADAMS and that his messages are no longer
visible because his Snapchat account and messages have been deleted. In an interview with
investigators with the Jackson County (GA) Sheriff's Office, Georgia Doe confirmed that
ADAMS was present in the Snapchat chat room when these conversations took place with the
other male members. Multiple photos of ADAMS were also discovered on the phone including
screen captures of live video Snapchat conversations which depicts both ADAMS and Georgia
Doe. Two of these screen captures depict Georgia Doe standing nude in a bathtub and ADAMS'
face is visible as the subject she is communicating with at the time.



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In August of 2021, investigators with the Detroit division of the FBI were made aware of a
subject by the name of Kevin Deary, who resided in their jurisdiction, who was actively posting
links of child pornography in several LiveMe groups which were designed for subjects interested
in the sexual exploitation of children. The Detroit Division eventually executed a search warrant
as a result of this investigation and seized a Samsung cellular phone which belonged to Deary. A
forensic examination of this phone yielded Snapchat conversations between Deary and ADAMS.
During these conversations ADAMS sent files of child pornography to Deary and also discussed
Georgia Doe and another minor female who lived in Michigan (hereinafter referred to as
Michigan Doe).


On September 17, 2021, ADAMS refers to both Georgia Doe and Michigan Doe by their first
names stating that he met them both on Omegle. During this group chat, ADAMS stated "Last
youngin I licked had just turned 14 this year. And very tasty. Hadnt tasted. A Y oungin ince the
7yo 5 years ago" and then added "I wish I still had the pies of the 7yo." During this chat room
conversation ADAMS is posting multiple images and videos although the actual files themselves
could not be recovered or observed. However, after posting several videos, one room member
asked "Hey dee who is that? Mmm" to which ADAMS responds "Too bad she got busted by her
parents. BC she's a wild 1" and then provides the first name of Georgia Doe in response to the
question. Later in the conversation ADAMS names Georgia Doe and Michigan Doe again by
their first names and acknowledges that Georgia Doe was thirteen years of age and Michigan
Doe was fourteen years of age.


On September 22, 2021, ADAMS and Deary engaged in a Snapchat conversation in which
ADAMS sent several Snapchat attachments to Deary and Deary responded indicating that they
are images of a female which is believed to be Michigan Doe. The two then discuss ADAMS
meeting Michigan Doe and, when Deary asks what they did, ADAMS replied "Fingered. Ate
her pussy. Made out a lot."


Michigan Doe was identified and forensically interviewed on or about December 14, 2021. In
the interview Michigan Doe advised she met ADAMS online in March of 2021 when she was
thirteen years of age. Michigan Doe admitted to sending sexually explicit images and videos of


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herself to ADAMS and showing him her body during live video sessions on Snapchat and
Google Duo. During the live video sessions, ADAMS would tell Michigan Doe to "finger"
herself and ADAMS would masturbate. ADAMS would also arrange group chats/video sessions
with other members on Snapchat where he would tell Michigan Doe what to do sexually during
the live session similar to what was believed he did with Georgia Doe.


Michigan Doe also advised that on May 31, 2021, ADAMS drove to Michigan to meet Michigan
Doe. Adams picked her up at a car wash near her house and drove her to a nearby hotel where
they spent five to six hours together. When ADAMS wanted to get sexual, Michigan Doe stated
that she asked to go home and he drove her back to the car wash.


During the interview, Michigan Doe was shown three printouts of Snapchat sessions that she
identified as being from communications with ADAMS. Michigan Doe also identified eight
images that she either sent to ADAMS or were portions of live video sessions with ADAMS as
well as positively identifying an image of ADAMS.


On January 7, 2022, a search warrant was executed at ADAMS' residence; 326 W. Main Street,
Apt. A, Mount Sterling, OH. ADAMS was present at the time and was interviewed by your
affiant. During the interview ADAMS acknowledged to utilizing the user name "deebugged" in
various email and other social media accounts including Snapchat. ADAMS was also shown the
screen captures recovered from Georgia Doe's phone and acknowledged that it was him in the
screen captures communicating with Georgia Doe including the video chats when Doe was in the
shower. ADAMS also recalled being in a Snapchat group with Georgia Doe and other men in
which she would live stream sexual activity to he and others but denied that he ever directed her
to do so. ADAMS also admitted to sending sexually explicit files of Georgia Doe to at least one
other person and possibly others.


ADAMS also acknowledged to meeting Michigan Doe and taking her to his hotel room in May
of 2021 after meeting her online and she had masturbated during Snapchat video conversations
with him. ADAMS stated that Michigan Doe wanted to engage in sexual activity with ADAMS
in the hotel room but he declined.


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In addition to admitting to his online relationship with Georgia and Michigan Doe, ADAMS also
acknowledged that he had been a member of the TarnTam chat room "Cool Place" and had
utilized the username "deebugged" where undercover officer observed him posting video files of
child pornography in October of 2021 which led to the original investigation.


When asked how many files of child pornography would be recovered from his cell phone,
ADAMS responded that he didn't know and that his phone was automatically set to "save shit."
When asked if investigators were going to recover a large number of child pornography from his
phone, he responded that "it's possible."


A forensic examination of an LG LM-G900VMY cellular phone belonging to ADAMS and
seized from his residence yielded approximately fifteen hundred images and two thousand videos
of child pornography.


In addition to these files recovered, multiple conversations between ADAMS and other subjects
utilizing various chat applications were also recovered in which ADAMS discusses and
distributes sexually explicit videos of Georgia and Michigan Doe, including the following:


On or about September 15, 2021, ADAMS was involved in a conversation with several subjects
utilizing the Line mobile messenger app. This conversation was also referenced above in which
ADAMS calls Georgia and Michigan Doe by their first names. During this conversation
ADAMS distributes several videos believed to be of Georgia Doe masturbating with a hairbrush.


On or about September 21, 2021, ADAMS was involved in a conversation utilizing the TamTam
chat application with an unknown user. During this conversation, ADAMS sent the subject a 1
minute 41 second video to the subject of a screen recording from Snapchat. In the video the
Snapchat user "MY LIFE [heart emoji] LOVE" sent several videos to ADAMS and the videos
were of Michigan Doe masturbating. Prior to the video sent to ADAMS, he writes "Yes daddy
wants to se it, To see that wet pussy" indicating that he is requesting Michigan Doe to masturbate
which he then records.


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ADAMS then sent the unknown subject a 1 minute 21 second video of a screen recording from
Snapchat in which the same Snapchat user described above sent several videos to ADAMS
which depicted Michigan Doe masturbating. This screen recording depicted ADAMS opening
the videos on Snapchat and watching them.


ADAMS then sent the unknown user a 26 minute and fifty second screen recording depicting a
video conversation between ADAMS and Michigan Doe which depicted her masturbating that he
is recording.


On or about September 28, 2021, ADAMS was engaged in a conversation utilizing the Line
mobile messenger app with several subjects in a group chat. Line is described as a freeware app
that allows users to exchange texts, images, videos, audio and conduct voice over IP
conversations and video conferences. A user posts an image titled 1131.jpg, which depicts a
nude young female, approximately 7-9 years of age, laying on her back with her legs in the air,
fully exposing her vagina and anus. Another user utilizing the username Pegazus writes "I have
seen some vids of her" to which ADAMS responds "She take a cock?" When Pegazus answers
''Yes in the butt," ADAMS then asks "Where that vid at?"     Pegazus then messages ADAMS
privately and states "I can't send the vid in the chat." Pegazus then proceeds to send ADAMS a
three minute video which depicted the same female described above with her legs spread
exposing her vagina and anus. The video could not be reviewed by investigators but ADAMS
later responds to Pegazus "She takes that black cock very happily.. .lil puffy pussy needs some
attention."




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Based upon the above information, your affiant submits that there is probable cause to believe
that Donald A. ADAMS has committed the offense of Receipt and Distribution of Child
Pornography in violation of 18 U.S.C. §§ 2252(a)(2), Production of Child Pornography in
violation of 18 U.S.C. §§ 225l{a) and the Advertising for Child Pornography in violation of 18
U.S.C. §§ 2251(d)(l)(A). Therefore, your affiant respectfully requests this Court issue a
criminal complaint and arrest warrant.




                                             Brett M. Peachey
                                             Task Force Officer
                                             Federal Bureau of Investigation



                                         20th
Sworn to and subscribed before me this _ _ _ day of January 20, 2022.




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